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U. Ss. Department of Justice

- United States Attorney
’ Western District of Virginia
. : Street Address (overnight Mailing Address
Thomas T. Cullen . mail) I 80 W. Main Street, Suite
United States Attorney + : 310 Cummings Street, Suite A BIO

Abingdon, Virginia 24210 A inedon, Virginia 24210
. : Telephone: 276-628-4161
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oe . - June 28, 2018
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Donald Williams, Jr. , Roped k Y, Ny p J: ly. HW Gun ‘ TT.
P.O. Box 601 yy Fria Nate
. a, Date 24 - Jc. /
Pennington Gap, Virginia 24277 : Signatures 7 | oS a

Re: — United States of America v. Joel Smithers
Case No.: 1:17-CR-00027

Dear Mr. Williams:

Pursuant to ‘your motion for discovery, please find enclosed:

18 DVDs containing certain bank records.

° “WD Passport” 4 TB External Hard Drive containing investigative materials.

e “Protronix” External Hard Drive containing files labeled N34, N41, N42, N43,
N44, N45, N46, N47, N59, N60, N61, N62, N63, N64, N65, N66, N73, N89, N90, -
N91, N92, and N93. .

Instructions for viewing archived video files in “Milestone.”
e Instructions viewing materials contained on the “Protronix” External Hard Drive.

Should you wish to view any of the physical evidence, please contact Special Agent, Patrick Long,
at 276-466-4057,

_ By receiving discovery material, you will be deemed to have requested all disclosures set
forth in Federal Rule of Criminal Procedure 16.

Please note that by this letter the United States requests disclosure of all items to which it
is entitled under Federal Rules of Criminal Procedure 16 and 26.2. In addition, the United States
states that the offense(s) occurred at the time(s), date(s) and place(s) set forth in the indictment

Exhibit A

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and/or discovery materials. The United States requests that.the defendant give written notice, in
accordance with the requirements of Federal Rule of Crirninal Procedure 12.1, of the defendant's
intent to offer a defense of alibi.

You are ‘hereby notified that the United States intends to introduce at trial, the following
items: - : :

(1) pursuant to Federal Rule of Criminal Procedure 404(b), evidence of all crimes, wrongs,
and acts set forth in the discovery materials made available to you in this case and/or made
available by you to the United States in reciprocal discovery; and,

(2) Pursuant to Federal Rule of Criminal Procedure 609, evidence of any convictions more
than ten years old.

Pursuant to Rule 902(11) of the Federal Rules of Bvidence, we intend to introduce into _
evidence any applicable records produced.in discovery without the presence ofawitness. If you
wish to view any certificates of authenticity not provided in discovery please let us know, as soon
as possible. If you intend to require that we have a witness present at trial to authenticate the °
records, please notify us in writing at least 45 days prior to trial so we will have adequate time to
subpoena and make travel arrangements for the witness.

Finally, I have enclosed a copy of the order entered in this case governing disclosure of

grand jury and other materials, etc., for your immediate reference. Please ‘note that among other

‘provisions, the order prohibits you from removing the discovery materials from your office

unless kept in your personal possession at all times. Accordingly, you may not provide a

copy of any of the discovery materials to your client. It is the policy of this office to seek
‘ contempt sanctions for violations of the order.

Very truly yours,

THOMAS T. CULLEN
United States Attorney

Assistant United States Attorney
RR/b

Enclosures
c: S/A Patrick Long

